Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 1 of 16 PageID #: 1015




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

  TQ DELTA, LLC,

                          Plaintiff,
                     v.                     CIV. A. NO. 2:21-CV-310-JRG
                                                  (Lead Case)
  COMMSCOPE HOLDING COMPANY, INC.,
  COMMSCOPE INC., ARRIS
  INTERNATIONAL LIMITED, ARRIS
  GLOBAL LTD., ARRIS US HOLDINGS, INC.,
  ARRIS SOLUTIONS, INC., ARRIS
  TECHNOLOGY, INC., and ARRIS
  ENTERPRISES, LLC

                          Defendants.



  TQ DELTA, LLC,

                          Plaintiff,
                     v.                     CIV. A. NO. 2:21-CV-309-JRG
                                                  (Member Case)
  NOKIA CORP., NOKIA SOLUTIONS AND
  NETWORKS OY, and NOKIA OF AMERICA
  CORP.,

                          Defendants.


DEFENDANTS NOKIA CORPORATION AND NOKIA SOLUTIONS AND NETWORKS
  OY’S MOTION TO DISMISS UNDER RULE 12(b)(6) FOR FAILURE TO PLEAD
                      COMPLIANCE WITH THE
    ACTUAL NOTICE AND MARKING REQUIREMENTS OF 35 U.S.C. § 287(a)
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 2 of 16 PageID #: 1016




                                                 TABLE OF CONTENTS


I.     INTRODUCTION .............................................................................................................. 1

II.    FACTS ................................................................................................................................ 2
       A.   TQ Delta’s Complaint ............................................................................................. 2
       B.   TQ Delta’s Licensees .............................................................................................. 2

III.   LEGAL STANDARDS ...................................................................................................... 3

IV.    ARGUMENT ...................................................................................................................... 3
       A.  TQ Delta’s Complaint Fails to Plead Compliance with the Actual Notice
           and Marking Requirements of 35 U.S.C. § 287(a). ................................................ 3
       B.  Section 287(a) Prevents TQ Delta from Recovering Any Damages for
           Those Patents that are Expired and Limits Damages to Post-Complaint
           Damages for the Remaining Asserted Patents. ....................................................... 6
       C.  Public Policy Weighs in Favor of Dismissal .......................................................... 8

V.     CONCLUSION ................................................................................................................... 9




                                                                    ii
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 3 of 16 PageID #: 1017




                                                  TABLE OF AUTHORITIES

                                                                                                                                        Page(s)

Cases

Adrea, LLC v. Barnes & Noble, Inc.,
   No. 13-cv-4137(JSR), 2015 U.S. Dist. LEXIS 100312 (S.D.N.Y. July 23,
   2015) ..........................................................................................................................................8

Am. Med. Sys. v. Med. Eng’g Corp.,
   6 F.3d 1523 (Fed. Cir. 1993)......................................................................................................4

Amsted Indus. v. Buckeye Steel Castings Co.,
  24 F.3d 178 (Fed. Cir. 1994)..................................................................................................4, 5

Arctic Cat Inc. v. Bombardier Rec. Prods.,
   876 F.3d 1350 (Fed. Cir. 2017) (Arctic Cat I) ...........................................................................4

Arctic Cat Inc. v. Bombardier Rec. Prods.,
   950 F.3d 860 (Fed. Cir. 2020) (Arctic Cat II) ............................................................................7

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................3

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ...................................................................................................................3

Dunlap v. Schofield,
   152 U.S. 244 (1894) ...................................................................................................................5

Funai Elec. Co., Ltd. v. Daewoo Elecs. Corp.,
   616 F.3d 1357 (Fed. Cir. 2010)..................................................................................................5

Gart v. Logitech, Inc.,
   254 F.3d 1334 (Fed. Cir. 2001)..................................................................................................5

Horatio Wash. Depot Techs. LLC v. Tolmar, Inc.,
   No. 17-1086-LPS-CJB, 2019 U.S. Dist. LEXIS 45453 (D. Del. Mar. 20, 2019) ..............4, 6, 8

Huawei Techs. Co. Ltd. v. T-Mobile US, Inc,
   No. 2:16-CV-00052-JRG-RSP, 2017 U.S. Dist. LEXIS 153383 (E.D. Tex.
   Sep. 4, 2017) ..........................................................................................................................8, 9

Jackson v. Intel Corp.,
   No. 09 C 2178, 2009 U.S. Dist. LEXIS 78991 (N.D. Ill. Aug. 31, 2009) .........................4, 6, 8




                                                                        iii
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 4 of 16 PageID #: 1018




Laitram Corp. v. NEC Corp.,
    CIVIL ACTION NO. 89-1571 SECTION “N”, 1996 U.S. Dist. LEXIS 9263
    (E.D. La. June 28, 1996) ............................................................................................................7

Lakim Indus., Inc. v. Linzer Prods. Corp.,
   No. CV12-04976-ODW, 2012 U.S. Dist. LEXIS 191494 (C.D. Cal. Nov. 7,
   2012) ..........................................................................................................................................3

Lans v. Dig. Equip. Corp.,
   252 F.3d 1320 (Fed. Cir. 2001)..........................................................................................4, 6, 8

Mass. Inst. of Tech. v. Abacus Software, Inc.,
  No. 5:01cv344, 2004 U.S. Dist. LEXIS 30052 (E.D. Tex. Aug. 4, 2004).................................7

On Command Video Corp. v. Lodgenet Entm’t Corp.,
   No. C 95-546 SBA, 1995 U.S. Dist. LEXIS 20192 (N.D. Cal. Nov. 28, 1995) ........................4

Statutes

35 U.S.C. § 287 ...................................................................................................................... passim

Other Authorities

Federal Rule of Civil Procedure 12(b)(6) ........................................................................................3




                                                                     iv
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 5 of 16 PageID #: 1019




                             TABLE OF EXHIBITS


       Exhibit No.       Description


                         Stipulation of Dismissal in TQ Delta, LLC v. ZyXEL Comms.,
          Ex. 1
                         Inc., No. 13-cv-2013 (D. Del. Jan 6, 2020)

                         Defendant ADTRAN, Inc.’s Licensing Proffer in TQ Delta, LLC
          Ex. 2
                         v. ADTRAN, No. 1:15-cv-00121 (D. Del. Oct. 3, 2019)




                                        v
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 6 of 16 PageID #: 1020




I.      INTRODUCTION
        TQ Delta alleges that Defendants Nokia Corporation and Nokia Solutions and Networks,

Oy (the “Nokia Foreign Entities”)1 infringe 19 patents.2 Because certain of these patents expired

before this suit was filed, TQ Delta’s only potential relief as to the expired patents is past damages.3

To recover past damages, TQ Delta must plead compliance with the marking or actual-notice

requirements of 35 U.S.C. § 287. TQ Delta’s Complaint, though, fails to plead marking or actual

notice, which necessitates two actions—first, dismissal of its claims related to those expired

patents because no relief is available to TQ Delta for infringement of the expired patents; and

second, dismissal of TQ Delta’s claim to entitlement to past damages for those patents not yet

expired.

        Nor can TQ Delta’s failure be cured. Defendants were not given actual notice of alleged

infringement of each of the Asserted Patents, and TQ Delta has licensees that sell products

previously accused of infringement that TQ Delta does not contend were properly marked. TQ

Delta’s predecessor, Aware, also sold products that apparently practiced the Asserted Patents,

which TQ Delta fails to contend were marked. TQ Delta’s claims of infringement as to the expired

patents in its Original Complaint should therefore be dismissed without leave to amend, and its

claims of infringement as to the patents that are not expired should be limited to potential future



1
       Defendant Nokia of America Corporation submitted its motion to dismiss in the member
case on October 22, 2021. See Dkt. No. 20 in Civ. A. No. 2:21-cv-309-JRG. Plaintiff TQ Delta
responded on November 12, 2021. See Dkt. No. 34 in Civ. A. No. 2:21-cv-310-JRG. Defendant
Nokia of America submitted its reply on November 19, 2021. See Dkt. No. 39 in Civ. A. No. 2:21-
cv-310-JRG.
2
       Specifically, U.S. Patent Nos. 7,570,686; 7,844,882; 8,090,008; 8,468,411; 8,495,473;
8,594,162; 8,595,577; 8,937,988; 9,014,193; 9,094,348; 9,154,354; 9,300,601; 9,485,055;
9,547,608; 9,894,014; 10,044,473; 10,409,510; 10,567,112; and 10,833,809 (the “Asserted
Patents”).
3
        At least U.S. Patent Nos. 8,090,008; 8,937,988; and 9,154,354 are expired.


                                                   1
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 7 of 16 PageID #: 1021




damages.

II.    FACTS
       A.      TQ Delta’s Complaint
       TQ Delta’s Complaint does not sufficiently plead marking or actual notice as required by

35 U.S.C. § 287. First, the Complaint is devoid of any mention of the marking requirement despite

TQ Delta having the burden on this issue. TQ Delta does not set forth a single fact in attempt to

demonstrate that it has marked, or required its licensees to mark, any products with the asserted

patents. Second, TQ Delta does not identify any facts sufficient to demonstrate actual notice.

       Importantly, TQ Delta avers that it is the “successor-in-interest in patents from Aware,”

which “was a world-leading innovator and provider of DSL technologies.” Dkt. No. 1, Original

Complaint ¶ 23. But TQ Delta never alleges that Aware ever marked any of its products.

       TQ Delta raises only two arguments to support that the Nokia Foreign Entities was on

notice of the Asserted Patents, neither of which provide a plausible basis to satisfy the notice and

marking statute. First, TQ Delta asserts that communications between TQ Delta and Nokia

regarding possible licensing of the Asserted Patents constitutes knowledge of the patents. Dkt.

No. 1 at ¶¶ 31–32. Second, TQ Delta argues that because Nokia participates in and understands

the ITU standardization process, it had actual notice of the patents. Id. ¶¶ 33–41. TQ Delta then

repeats these bases of knowledge with respect to each count of alleged infringement.

       B.      TQ Delta’s Licensees
       In addition to the DSL technologies that Aware provided to its customers, prior to filing

this lawsuit, TQ Delta asserted its patent portfolio against several third parties—including ZyXEL.

The prior suit against ZyXEL was resolved through settlement pursuant to a patent license

agreement. See Ex. No. 1, Stipulation of Dismissal, TQ Delta, LLC v. ZyXEL Comms., Inc., No.

13-cv-2013 (D. Del. Jan 6, 2020), ECF No. 691. Likewise, in a litigation before Judge Andrews at

the District of Delaware, Michael Tzannes, the primary inventor of the majority of TQ Delta’s


                                               2
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 8 of 16 PageID #: 1022




portfolio, testified that Infineon was also licensed to build and sell DSL chips. See Ex. No. 2,

Defendant ADTRAN, Inc.’s Licensing Proffer at *2–3, TQ Delta, LLC v. ADTRAN, No. 1:15-cv-

00121 (D. Del. Oct. 3, 2019), ECF No. 864. As a result of TQ Delta’s previous litigation activities,

at least ZyXEL and Infineon are authorized to practice the claims of TQ Delta’s patents. In its

Complaint, TQ Delta does not deny that ZyXEL or Infineon have sold licensed products, nor does

it allege that ZyXEL or Infineon did in fact mark licensed products in compliance with 35 U.S.C.

§ 287(a).
III.   LEGAL STANDARDS
       Under Federal Rule of Civil Procedure 12(b)(6), a claimant must plead “enough facts to

state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007). “Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Rule 8 demands more

than . . . labels and conclusions, or formulaic recitals of the elements of a cause of action.” Lakim

Indus., Inc. v. Linzer Prods. Corp., No. CV12-04976-ODW, 2012 U.S. Dist. LEXIS 191494, at *4

(C.D. Cal. Nov. 7, 2012).

       A claim alleging patent infringement must have “facial plausibility,” which requires the

claimant to plead “factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. A court is “not bound to

accept as true a legal conclusion couched as a factual allegation.” Id. (quoting Twombly, 550 U.S.

at 555). A claim that simply “pleads facts that are ‘merely consistent with’ [] liability” does not

present facial plausibility of entitlement to relief. Id. (quoting Twombly, 550 U.S. at 557).

IV.    ARGUMENT
       A.      TQ Delta’s Complaint Fails to Plead Compliance with the Actual Notice and
               Marking Requirements of 35 U.S.C. § 287(a).
       A patentee who makes or sells a patented article is ineligible to recover pre-filing damages

for infringement unless it has complied with the marking or actual notice provisions of 35 U.S.C.


                                                3
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 9 of 16 PageID #: 1023




§ 287(a). Arctic Cat Inc. v. Bombardier Rec. Prods., 876 F.3d 1350, 1365 (Fed. Cir. 2017) (Arctic

Cat I). A patentee’s licensees must also comply with the marking provisions of § 287(a). Id.

at 1366. At the pleading stage, it is the patentee’s burden to plead compliance with § 287(a). Id.

at 1366–67.

       Where a patent has expired before the complaint was filed, a patentee fails to state a claim

for patent infringement by failing to plead compliance with the marking or actual notice provisions

of § 287(a). Lans v. Dig. Equip. Corp., 252 F.3d 1320, 1328 (Fed. Cir. 2001) (affirming district

court’s dismissal where products were not marked and patentee failed to notify accused infringer

before patent expired); Horatio Wash. Depot Techs. LLC v. Tolmar, Inc., No. 17-1086-LPS-CJB,

2019 U.S. Dist. LEXIS 45453, at *7 (D. Del. Mar. 20, 2019) (granting motion to dismiss for failure

to state a claim where asserted patents expired prior to filing of complaint and actual notice of

infringement was provided via complaint); Jackson v. Intel Corp., No. 09 C 2178, 2009 U.S. Dist.

LEXIS 78991, at *5 (N.D. Ill. Aug. 31, 2009) (noting that if patentee cannot state a claim for

damages due to failure to plead compliance with marking statute, then “he has failed to state a

claim” for patent infringement).

       To satisfy § 287(a), a patentee must “either provid[e] (1) constructive notice of

infringement by ‘marking’ the patented article or (2) actual notice of infringement to the infringer.”

On Command Video Corp. v. Lodgenet Entm’t Corp., No. C 95-546 SBA, 1995 U.S. Dist. LEXIS

20192, at *6 (N.D. Cal. Nov. 28, 1995) (citing Am. Med. Sys. v. Med. Eng’g Corp., 6 F.3d 1523,

1537 (Fed. Cir. 1993)). Actual notice under § 287 requires “an affirmative act on the part of the

patentee which informs the defendant of his infringement.” Amsted Indus. v. Buckeye Steel

Castings Co., 24 F.3d 178, 187 (Fed. Cir. 1994). The affirmative communication must include “a

specific charge of infringement.” Id. That is, the notice must be “sufficiently specific to support




                                                4
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 10 of 16 PageID #: 1024




an objective understanding that the recipient may be an infringer.” Funai Elec. Co., Ltd. v. Daewoo

Elecs. Corp., 616 F.3d 1357, 1373 (Fed. Cir. 2010) (citing Gart v. Logitech, Inc., 254 F.3d 1334,

1346 (Fed. Cir. 2001)). Simple notice of the existence of a patent is not sufficient.

        TQ Delta’s Complaint contains no allegations relating to compliance with § 287(a).

Accordingly, TQ Delta has failed to meet its burden and sufficiently plead that it has satisfied these

requirements in its complaint. Such a failure is itself sufficient grounds to dismiss in part.

Specifically, TQ Delta does not allege that it, its predecessor Aware, or any of its licensees have

complied with the marking provisions of § 287(a) or that it provided actual notice of infringement

to Defendants prior to filing this suit. Indeed, the only allegations in TQ Delta’s Complaint relevant

to the issue of notice are recited in connection with communications related to licensing

negotiations and the Nokia Foreign Entities’ knowledge of the standards setting organization. See

Dkt. No. 1 at ¶¶ 31-41.

        These allegations are legally insufficient. Actual notice of infringement requires an

affirmative act by the patentee. Amsted Indus., 24 F.3d at 187 (citing Dunlap v. Schofield, 152 U.S.

244, 248 (1894)) (“[N]otice must be an affirmative act on the part of the patentee which informs

the defendant of his infringement.”). That affirmative act by the patentee must provide the accused

infringer with a specific charge of infringement. Id. at 187 (“For purposes of section 287(a), notice

must be of ‘the infringement,’ not merely notice of the patent’s existence or ownership. Actual

notice requires the affirmative communication of a specific charge of infringement.” (emphasis

added)). Here, TQ Delta failed to plead facts sufficient to show that it took any affirmative actions

to provide the Nokia Foreign Entities with a specific charge of infringement prior to filing this

suit.

        Indeed, TQ Delta’s assertion that the Nokia Foreign Entities had knowledge of the ITU




                                                5
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 11 of 16 PageID #: 1025




Standardization process amounts to no more than an assertion that the Nokia Foreign Entities are

aware of the standards-setting organization. See id. ¶¶ 33–39. In fact, in its discussion of the Nokia

Foreign Entities’ purported knowledge of the ITU Standardization process, TQ Delta entirely fails

to assert that it committed an affirmative act at all, let alone an affirmative act that would amount

to actual notice.

        Likewise, TQ Delta’s general statements of licensing communications between it and the

Nokia Foreign Entities do not provide a charge of infringement, let alone a specific charge of

infringement that would amount to actual notice. Id. Rather, the Complaint refers to licensing

communications that merely communicated TQ Delta’s purported willingness to license certain

TQ Delta Patents to the Nokia Foreign Entities. See Dkt. No. 1 at ¶¶ 31–32. These allegations are

untethered to the requirements of § 287(a), and thus TQ Delta has failed to meet its burden that

notice was given under this section.

        Given that TQ Delta’s Complaint fails to plead that TQ Delta complied with § 287(a)

through either marking or actual notice, TQ Delta’s patent infringement claims as related to the

expired patents must be dismissed. Lans, 252 F.3d at 1328; Horatio, 2019 U.S. Dist. LEXIS 45453,

at *7; Jackson, 2009 U.S. Dist. LEXIS 78991, at *5. As to TQ Delta’s claims regarding those

patents that have not yet expired, TQ Delta’s ability to recover must be limited to potential future

damages after the Complaint was filed. Nor can TQ Delta’s failure be cured. Defendants were not

given actual notice, and TQ Delta’s predecessor and its licensees sell products that practice the

patents that TQ Delta does not contend were properly marked. TQ Delta’s Original Complaint

should therefore be dismissed in part without leave to further amend.

        B.      Section 287(a) Prevents TQ Delta from Recovering Any Damages for Those
                Patents that are Expired and Limits Damages to Post-Complaint Damages
                for the Remaining Asserted Patents.
        “In the event of failure so to mark, no damages shall be recovered by the patentee in any


                                                6
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 12 of 16 PageID #: 1026




action for infringement, except on proof that the infringer was notified of the infringement and

continued to infringe thereafter, in which event damages may be recovered only for infringement

occurring after such notice.” 35 U.S.C. § 287(a) (emphasis added). Under the plain language of

§ 287(a), where there is a failure to mark, a patentee is prohibited from receiving any damages in

a subsequent action for infringement, unless the patentee has provided the accused infringer with

actual notice. This is precisely what the Federal Circuit recently held in Arctic Cat Inc.

v. Bombardier Rec. Prods., 950 F.3d 860 (Fed. Cir. 2020) (Arctic Cat II). As the Federal Circuit

explained:

        While § 287 describes the conduct of the patentee in the present tense, the
        consequence of a failure to mark is not so temporally limited. Section 287 provides
        that “in the event of failure so to mark, no damages shall be recovered by the
        patentee in any action for infringement, except on proof that the infringer was
        notified of the infringement and continued to infringe thereafter” (emphasis added).
        The statute thus prohibits a patentee from receiving any damages in a subsequent
        action for infringement after a failure to mark.

Arctic Cat II, 950 F.3d at 865 (emphasis added).

        Here, as it did for the patentee in Arctic Cat II, TQ Delta’s obligation to mark arose no later

than when it authorized licensees to begin selling patented articles.4 Id. Specifically, the Federal

Circuit in Arctic Cat II held that “[t]he notice requirement to which a patentee is subjected cannot

be switched on and off. . . . Thus, once a patentee begins making or selling a patented article, the

notice requirement attaches, and the obligation imposed by § 287 is discharged only by providing

actual or constructive notice.” Id. And critically, once there is a failure to mark, § 287(a) forecloses



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  The damage limitations of § 287 likewise “apply to licensees and other authorized parties
regardless of the particular form of the authorization and regardless of whether the authorization
is a ‘settlement agreement,’ ‘covenant not to sue,’ or ‘license.’” Laitram Corp. v. NEC Corp.,
CIVIL ACTION NO. 89-1571 SECTION “N”, 1996 U.S. Dist. LEXIS 9263, at *5-6 (E.D. La.
June 28, 1996); see also Mass. Inst. of Tech. v. Abacus Software, Inc., No. 5:01cv344, 2004 U.S.
Dist. LEXIS 30052, at *31-33 (E.D. Tex. Aug. 4, 2004).


                                                 7
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 13 of 16 PageID #: 1027




a patentee from recovering damages for infringement occurring before there were even products

to mark. Adrea, LLC v. Barnes & Noble, Inc., No. 13-cv-4137(JSR), 2015 U.S. Dist. LEXIS

100312, at *7 (S.D.N.Y. July 23, 2015) (“The operative sentence provides that, if the patentee fails

to mark its products but provides defendant with actual notice, “damages may be recovered only

for infringement occurring after such notice.”). Accordingly, TQ Delta, like the patentee in Adrea,

cannot recover damages for alleged acts of infringement that occurred before TQ Delta triggered

its obligation to mark. Adrea, 2015 U.S. Dist. LEXIS 100312, at *7–8.

       Section 287(a) therefore prevents TQ Delta from collecting damages in this case for those

patents that are expired, even for alleged acts of infringement that occurred before TQ Delta

licensed any third parties to practice the claims of the Asserted Patents. For those patents that have

not yet expired, any damages would be limited to the time after the filing of the Complaint. As a

result, TQ Delta has failed to show that it can recover past damages for Defendants’ alleged

infringement of the Asserted Patents, and so TQ Delta’s claims of infringement as to the expired

patents must be dismissed and TQ Delta’s claims of past damages for Defendants’ alleged

infringement as to the non-expired patents should likewise be dismissed. See Lans, 252 F.3d at

1328; Horatio, 2019 U.S. Dist. LEXIS 45453, at *7; Jackson, 2009 U.S. Dist. LEXIS 78991, at

*5.

       C.      Public Policy Weighs in Favor of Dismissal
       The public policy underlying the marking requirements in § 287(a)—i.e., to provide an

incentive for a patentee to put the public on notice of its patent rights—also counsels in favor of

requiring TQ Delta to show marking in this case. Magistrate Judge Payne’s reasoning in Huawei

Techs. Co. Ltd. v. T-Mobile US, Inc. is instructive in this regard:

       The purpose of the marking requirement is to provide an incentive for patentees to
       inform a potential infringer that someone has a right to exclude him from making,
       using, offering to sell, or selling the article he may be contemplating—in other


                                                8
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 14 of 16 PageID #: 1028




        words, to preclude the patentee from taking advantage of the deception that may
        arise from unmarked articles. As a result, a logical interpretation of the statute is
        that a patentee must mark any product covered by any claim of the asserted
        patent. . . . If the patentee fails to mark any article with the patent then later asserts
        a claim that encompassed the unmarked article, the patentee should not be entitled
        to bypass § 287(a)’s constructive notice requirement.

No. 2:16-CV-00052-JRG-RSP, 2017 U.S. Dist. LEXIS 153383, at *9-10 (E.D. Tex. Sep. 4, 2017)

(internal citation omitted). Allowing TQ Delta to circumvent the marking requirements of § 287(a)

would undermine § 287(a)’s public-notice function. TQ Delta should not be allowed to make an

end-run around the marking provisions of the Patent Act and recover damages without having put

the public on notice of its patent rights.

                                                  ***

        In sum, because TQ Delta has (i) failed to plead actual notice before the filing of its

complaint, (ii) failed to plead compliance with the marking provisions of § 287(a), and (iii) will

be unable to plead actual notice or marking if given an opportunity to amend, TQ Delta’s

Complaint should be dismissed in part without leave to amend.

V.      CONCLUSION

        For these reasons, and on the authorities cited, the Nokia Foreign Entities’ motion to

dismiss should be granted.



Dated: November 22, 2021                        Respectfully submitted,

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                                                  9
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 15 of 16 PageID #: 1029




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                                    and Networks Oy, and Nokia of America Corp.




                                    10
Case 2:21-cv-00310-JRG Document 44 Filed 11/22/21 Page 16 of 16 PageID #: 1030




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has been

served on all counsel of record via the Court’s ECF system on November 22, 2021.

                                                           /s/ M. Scott Stevens
                                                           M. Scott Stevens




                                             11
